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 6                            UNITED STATES DISTRICT COURT
 7                                EASTERN DISTRICT OF CALIFORNIA
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     AMEGY BANK, N.A.,                                         CASE NO. 1:12-mc-00027-SKO
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                             Plaintiff,
10                                                             AMENDED ORDER VACATING
             v.                                                APPEARANCE AND EXAMINATION
11                                                             OF JUDGMENT DEBTOR JEFF
                                                               BAKER
12
     MICHAEL WALKER; JEFF BAKER,                               AMENDED ORDER REMOVING
13                                                             THE MARCH 13, 2013, DEBTOR
                                                               EXAMINATION FROM THE
14                                                             COURT'S CALENDAR
                             Defendants.
15                                                             (Doc. 9)
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18           On February 5, 2013, Plaintiff Amegy Bank, N.A., filed a motion and application for an order
19   for the appearance and examination of judgment debtor, Jeff Baker. (Doc. 9.) As Plaintiff's request
20   met the statutory requirements, the Court issued an order on February 13, 2013, for the appearance
21   and examination of Jeff Baker on March 13, 2013. (Doc. 10.) In the February 13, 2013, order,
22   Plaintiff was specifically directed to file a certificate of service establishing that, within 10 days of
23   the date set for appearance and examination, judgment debtor Jeff Baker was personally served with
24   the Court's order February 13, 2013, order. (Doc. 10, p. 3, ¶ 2.) As of March 6, 2013, no certificate
25   of service was filed by Plaintiff. On March 6, 2013, the Court issued a minute order reiterating that
26   Plaintiff was to file a certificate of service no later than March 8, 2013, establishing that Jeff Baker
27   was personally served with the Court's February 13, 2013, order. (Doc. 12.) The minute order also
28   noted that failure to file a certificate of personal service would result in vacating the order for
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 1   personal appearance and examination. Nonetheless, Plaintiff failed to file a certificate of service.
 2          Accordingly, IT IS HEREBY ORDERED that:
 3          1.      The order for the personal appearance and examination of Jeff Baker is VACATED
 4                  and the debtor examination is REMOVED from the Court's calendar;
 5          2.      Jeff Baker shall not be required to appear for examination on March 13, 2013;
 6                  and
 7          3.      If Plaintiff seeks a further court order for appearance and examination of a judgment
 8                  debtor, such a request must be refiled and a new examination date must be set with
 9                  the understanding that further non-compliance, or a failure to explain an inability to
10                  comply with the Court's orders, may subject Plaintiff's counsel to monetary sanctions.
11   IT IS SO ORDERED.
12   Dated:      March 12, 2013                        /s/ Sheila K. Oberto
     d70o4d                                    UNITED STATES MAGISTRATE JUDGE
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